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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ISAIAH KEITH STEPHENS,

       Plaintiff,                                              Case No.: 1:25-cv-02341

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                         COMPLAINT

       Plaintiff, ISAIAH KEITH STEPHENS (“Stephens” or “Plaintiff”), by Plaintiff’s

undersigned counsel, hereby complains of the Partnerships and Unincorporated Associations

identified on Schedule A attached hereto (collectively, “Defendants”), and for Plaintiff’s

Complaint hereby alleges as follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

1338(a)–(b), and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant aliases and/or the online marketplace

accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

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or more commercial, interactive internet stores through which Illinois residents can purchase

products bearing infringing versions of Plaintiff’s copyrighted works. Each of the Defendants has

targeted Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and, on information and belief, have sold

products bearing infringing versions of Plaintiff’s federally registered copyrighted works to

residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                           INTRODUCTION

       3.      Plaintiff, ISAIAH KEITH STEPHENS, is the owner of the federal copyright

registrations that protect the creative content of Plaintiff’s images and illustrations. Stephens is a

multidisciplinary artist with over fifteen years of professional experience. His work often plays

with whimsical animal portraits, reimagines familiar characters in pop culture, explores new

perspectives, and celebrates the beauty of connection.

       4.      This action has been filed by Plaintiff to combat online copyright infringers who

trade upon Plaintiff’s reputation, goodwill, and valuable copyrights by selling and/or offering for

sale products in connection with Plaintiff’s images and illustrations. In addition, the Defendants

are selling unauthorized products that are based on and derived from the copyrighted subject matter

of Plaintiff’s images and illustrations.

       5.      Plaintiff is the owner of United States Copyright Registration Nos. VA 2-407-342;

VA 2-407-350; and VA 2-407-336 (the “Isaiah Stephens Works”) and the registrations are attached

hereto as Exhibit 1. Upon information and belief, the copyrights have an effective date that

predates the Defendants’ acts of copyright infringement.



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       6.      In an effort to illegally profit from the creative content of the Isaiah Stephens

Works, Defendants have created numerous Defendant Internet Stores and designed them to appear

to be selling authorized Isaiah Stephens Products.

       7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

operation. Plaintiff is forced to file this action to combat Defendants’ piracy of the Isaiah Stephens

Works. Plaintiff has been and continues to be irreparably damaged through loss of control over the

creative content of the valuable copyrights, reputation, goodwill, the quality, and ability to license

as a result of Defendants’ actions and seeks injunctive and monetary relief.

       8.      The rise of online retailing, coupled with the ability of e-commerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken by Plaintiff

because utilizing takedown procedures to remove infringing products would be an ineffective and

endless game of whack-a-mole against the mass piracy that is occurring over the internet. Sadly, a

swarm of infringers have decided to trade upon Plaintiff’s reputation, goodwill, and valuable

copyrights by selling and/or offering for sale products in connection with Plaintiff’s illustrations

and images. The aggregated effect of the mass piracy that is taking place has overwhelmed Plaintiff

and Plaintiff's ability to police Plaintiff's rights against the hundreds of anonymous defendants who

are selling illegal infringing products at prices below an original.

       9.      To be able to offer the infringing products at a price substantially below the cost of

original, while still being able to turn a profit after absorbing the cost of manufacturing,

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advertising, and shipping, requires an economy of scale only achievable through a cooperative

effort throughout the supply chain. As Homeland Security’s recent report confirms, infringers act

in concert through coordinated supply chains and distribution networks to unfairly compete with

legitimate brand owners while generating huge profits for the illegal pirating network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked through
       vast e-commerce supply chains in concert with marketing, sales, and distribution
       networks. The ability of e-commerce platforms to aggregate information and
       reduce transportation and search costs for consumers provides a big
       advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural
       geographical sales area.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.
                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.
       10.     The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants use aliases to avoid liability by

going to great lengths to conceal both their identities as well as the full scope and interworking of
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their illegal network. Despite deterrents such as takedowns and other measures, the use of aliases

enables infringers to stymie authorities:

        The scale of counterfeit activity online is evidenced as well by the significant efforts
        e-commerce platforms themselves have had to undertake. A major e-commerce
        platform reports that its proactive efforts prevented over 1 million suspected bad
        actors from publishing a single product for sale through its platform and blocked
        over 3 billion suspected counterfeit listings from being published to their
        marketplace. Despite efforts such as these, private sector actions have not been
        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                   ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                   ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        11.     eCommerce giant Alibaba has also made public its efforts to control piracy and

counterfeiting on its platform. It formed a special task force that worked in conjunction with

Chinese authorities for a boots-on-the-ground effort in China to stamp out counterfeiters. In

describing the counterfeiting networks it uncovered, Alibaba expressed its frustration in dealing

with “vendors, affiliated dealers and factories” that rely upon fictitious identities that enable

counterfeiting rings to play whack-a-mole with authorities:




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See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017), available
at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3).
       12.     Plaintiff has been and continues to be irreparably harmed through loss of control

over Plaintiff’s reputation, goodwill, ability to license and the quality of goods featuring the Isaiah

Stephens Works. The rise of eCommerce as a method of supplying goods to the public exposes

brand holders and content creators that make significant investments in their products to significant

harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
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        Economic Cooperation and Development (OECD) report, which details a 154
        percent increase in counterfeits traded internationally — from $200 billion in 2005
        to $509 billion in 2016. Similar information collected by the U.S. Department of
        Homeland Security (DHS) between 2000 and 2018 shows that seizures of
        infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
        year to 33,810.
                                                   …
        The rise in consumer use of third-party marketplaces significantly increases the
        risks and uncertainty for U.S. producers when creating new products. It is no longer
        enough for a small business to develop a product with significant local consumer
        demand and then use that revenue to grow the business regionally, nationally, and
        internationally with the brand protection efforts expanding in step. Instead, with the
        international scope of e-commerce platforms, once a small business exposes itself
        to the benefits of placing products online — which creates a geographic scope far
        greater than its more limited brand protection efforts can handle — it begins to face
        increased foreign infringement threat.
                                                  ...
        Moreover, as costs to enter the online market have come down, such market entry
        is happening earlier and earlier in the product cycle, further enhancing risk. If a new
        product is a success, counterfeiters will attempt, often immediately, to outcompete
        the original seller with lower-cost counterfeit and pirated versions while avoiding
        the initial investment into research and design.
                                                  ...
        Counterfeiters have taken full advantage of the aura of authenticity and trust that
        online platforms provide. While e-commerce has supported the launch of thousands
        of legitimate businesses, their models have also enabled counterfeiters to easily
        establish attractive “store-fronts” to compete with legitimate businesses.

See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 2) at 4, 8, 11.

        13.     Not only are the creators and copyright owners harmed, the public is harmed as well:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers. The President’s
        historic memorandum provides a much warranted and long overdue call to action
        in the U.S. Government’s fight against a massive form of illicit trade that is
        inflicting significant harm on American consumers and businesses. This illicit trade
        must be stopped in its tracks.
Id. at 3, 4. (Underlining in original).

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        14.     Plaintiff’s investigation shows that the telltale signs of an illegal piracy ring are

present in the instant action. For example, Schedule A shows the use of store names by the

Defendant Internet Stores that employ no normal business nomenclature and, instead, have the

appearance of being made up, or if a company that appears to be legitimate is used, online research

shows that there is no known address for the company. Thus, the Defendant Internet Stores are

using fake online storefronts designed to appear to be selling genuine Isaiah Stephens Products,

while selling inferior imitations of Plaintiff’s Isaiah Stephens Products. The Defendant Internet

Stores also share unique identifiers, such as design elements and similarities of the infringing

products offered for sale, establishing a logical relationship between them and suggesting that

Defendants’ illegal operations arise out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid liability by going to great lengths to

conceal both their identities and the full scope and interworking of their illegal piracy operation.

Plaintiff is forced to file this action to combat Defendants’ infringement of Plaintiff’s Isaiah

Stephens Works, as well as to protect unknowing consumers from purchasing unauthorized Isaiah

Stephens Products over the internet.

        15.     This Court has personal jurisdiction over each Defendant, because each Defendant

conducts significant business in Illinois and in this judicial district. Furthermore, the acts and

events giving rise to this lawsuit were undertaken in Illinois and in this judicial district. In addition,

each defendant has offered to sell and ship infringing products into this judicial district.

                                          THE PLAINTIFF

        16.     Plaintiff, ISAIAH KEITH STEPHENS, is the owner of the Copyright Registrations

that protect the creative content of the Isaiah Stephens Works. Stephens is a multidisciplinary artist

with over fifteen years of professional experience. His work often plays with whimsical animal

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portraits, reimagines familiar characters in pop culture, explores new perspectives, and celebrates

the beauty of connection.

       17.     Stephens graduated from the New England Institute of Art with a bachelor’s degree

in media arts and animation. His creative process often begins with sketches on paper before

transitioning into digital painting, allowing him to blend the tactile energy of traditional art with

the limitless possibilities of digital media. As his career continues to evolve, his mission remains

the same: to create art that resonates, inspires, and sparks joy in those who experience it

       18.     Stephens has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the Isaiah Stephens Works. As a result, products associated

with the Isaiah Stephens Works are recognized and exclusively associated by consumers, the

public, and the trade as products authorized by Plaintiff (the “Isaiah Stephens Products”).




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https://society6.com/a/artists/isaiahstephens/shop

       19.      Plaintiff is the owner of the United States Copyright Registrations that cover the

Isaiah Stephens Works. The Registrations are valid, subsisting, and in full force and effect. True

and correct copies of the registration certificates for the Isaiah Stephens Works are attached hereto

as Exhibit 1.

       20.      In an effort to illegally profit from the creative content of the Isaiah Stephens

Works, Defendants have created numerous Defendant Internet Stores and have designed them to

appear to be selling authorized Isaiah Stephens Products.

       21.      Plaintiff has invested substantial time, money, and effort in building up and

developing consumer awareness, goodwill, and recognition in the Isaiah Stephens Works.

       22.      The success of the Isaiah Stephens Works is due in large part to Plaintiff’s

marketing, promotional, and distribution efforts.

       23.      As a result of Plaintiff’s efforts, the quality of the Isaiah Stephens Products, the

promotional efforts for Plaintiff's products and designs, press and media coverage, and social

media coverage, members of the public have become familiar with the Isaiah Stephens Works and

associate them exclusively with Plaintiff.

       24.      Plaintiff has made efforts to protect Plaintiff's interests in and to the Isaiah Stephens

Works. No one other than Plaintiff and Plaintiff’s licensees are authorized to manufacture, import,

export, advertise, create derivative works, offer for sale, or sell any goods utilizing the Isaiah

Stephens Works without the express written permission of Plaintiff.

                                        THE DEFENDANTS

       25.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

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business throughout the United States, including within Illinois and in this judicial district, through

the operation of the fully interactive commercial websites and online marketplaces operating under

the Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell illegal Isaiah Stephens

Products to consumers within the United States, including Illinois and in this judicial district.

                       THE DEFENDANTS’ UNLAWFUL CONDUCT

       26.     The success of the Isaiah Stephens Works has resulted in significant copying of the

creative content protected by Plaintiff’s copyright registrations. Plaintiff has identified numerous

fully interactive websites and marketplace listings on various platforms. Each Defendant targets

consumers in the United States, including the State of Illinois, and has offered to sell and, on

information and belief, has sold and continues to sell infringing products that violate Plaintiff’s

intellectual property rights in the Isaiah Stephens Works (“Infringing Products”) to consumers

within the United States, including the State of Illinois.

       27.      Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine Isaiah Stephens Products.

       28.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their piracy operations in an effort to deter Plaintiff from learning Defendants’ true

identities and the exact interworking of Defendants’ illegal operations. Through their operation of

the Defendant Internet Stores, Defendants are directly and personally contributing to, inducing,

and engaging in the sale of Infringing Products as alleged, often times as partners, co-conspirators,

and/or suppliers. Upon information and belief, Defendants are an interrelated group of infringers



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working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell Infringing Products.

       29.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the Isaiah Stephens Works, including

Plaintiff's exclusive right to use and license such intellectual property and the goodwill associated

therewith.

       30.     Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of Defendant

Internet Stores. Upon information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities and the full scope and interworking of their massive pirating operation and to avoid being

shut down.

       31.     The Infringing Products for sale in the Defendant Internet Stores bear similarities

and indicia of being related to one another, suggesting that the Infringing Products were

manufactured by and come from a common source and that, upon information and belief,

Defendants are interrelated.

       32.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online

marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also

typically ship products in small quantities via international mail to minimize detection by U.S.

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Customs and Border Protection. A 2021 U.S. Customs and Border Protection report on seizure

statistics indicated that e-commerce sales accounted for 13.3% of total retail sales with second

quarter of 2021 retail e-commerce sales estimated at $222.5 billion. U.S. Customs and Border

Protection,     Intellectual     Property       Right      Seizure      Statistics,     FY      2021

(https://www.cbp.gov/sites/default/files/assets/documents/2022-Sep/202994%20-

%20FY%202021%20IPR%20Seizure%20Statistics%20BOOK.5%20-

%20FINAL%20%28508%29.pdf) at 23. A true and correct copy of CBP’s FY 2021 report is

attached hereto as Exhibit 4. In FY 2021, there were 213 million express mail shipments and 94

million international mail shipments. Id. Nearly 90 percent of all intellectual property seizures

occur in the international mail and express environments. Id. at 27. The “overwhelming volume of

small packages also makes CBP’s ability to identify and interdict high risk packages difficult.” Id.

at 23.

         33.   Further, infringers such as Defendants typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. (“PayPal”) accounts, behind

layers of payment gateways so that they can continue operation in spite of Plaintiff’s enforcement

efforts. Upon information and belief, Defendants maintain offshore bank accounts and regularly

move funds from their PayPal accounts to offshore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that

offshore infringers regularly move funds from U.S.-based PayPal accounts to foreign-based bank

accounts, such as China-based bank accounts, outside the jurisdiction of this Court.

         34.   Defendants, without any authorization or license, have knowingly and willfully

pirated Plaintiff’s Isaiah Stephens Works in connection with the advertisement, distribution,

offering for sale, and sale of illegal products into the United States and Illinois over the internet.

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Each Defendant Internet Store offers shipping to the United States, including Illinois, and, on

information and belief, each Defendant has offered to sell Infringing Products into the United

States, including Illinois.

                                       COUNT I
                                COPYRIGHT INFRINGEMENT

        35.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

        36.     The Isaiah Stephens Works have significant value and have been produced and

created at considerable expense.

        37.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the Isaiah Stephens

Works, including derivative works. The Isaiah Stephens Works are the subject of valid Copyright

Registration Certificates issued by the Register of Copyrights. (Exhibit 1).

        38.     Each Defendant, without the permission or consent of Plaintiff, has sold and

continues to sell online pirated derivative works of the copyrighted Isaiah Stephens Works. Each

Defendant has violated Plaintiff’s exclusive rights of reproduction and distribution. Each

Defendant’s actions constitute infringement of Plaintiff’s exclusive rights protected under the

Copyright Act (17 U.S.C. §101 et seq.).

        39.     The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of the Plaintiff.

        40.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees

and costs pursuant to 17 U.S.C. §505.
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       41.      The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C.

§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further

infringing Plaintiff’s copyrights and ordering that each Defendant destroy all unauthorized copies.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily, preliminarily,

and permanently enjoined and restrained from:

       a. Using the Isaiah Stephens Works or any reproductions, copies, or colorable imitations

             thereof in any manner in connection with the distribution, marketing, advertising,

             offering for sale, or sale of any product that is not an authorized Isaiah Stephens Product

             or is not authorized by Plaintiff to be sold in connection with the Isaiah Stephens

             Works;

       b. passing off, inducing, or enabling others to sell or pass off any product or not produced

             under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

             for sale under the Isaiah Stephens Works;

       c. further infringing the Isaiah Stephens Works and damaging Plaintiff’s goodwill;

       d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or inventory

             not authorized by Plaintiff to be sold or offered for sale, and which directly use the



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           Isaiah Stephens Works, and which are derived from Plaintiff’s copyrights in the Isaiah

           Stephens Works; and

       e. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Defendant Internet Stores, or any other online marketplace account that is being used

           to sell products or inventory not authorized by Plaintiff which are derived from

           Plaintiff’s copyrights in the Isaiah Stephens Works;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, internet search engines such as Google, Bing, and Yahoo,

web hosts for the Defendant Internet Stores, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of products not authorized by Plaintiff which reproduce the Isaiah

           Stephens Works or are derived from the Isaiah Stephens Works, including any accounts

           associated with the Defendants listed on Schedule A;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of products not authorized by Plaintiff which are derived

           from the Isaiah Stephens Works; and

       c. take all steps necessary to prevent links to the Defendant accounts identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant accounts from any search index;

       3) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyrights pursuant to 17 U.S.C. §501;



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and b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

         4) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined at

trial;

         5) That Plaintiff be awarded Plaintiff’s reasonable attorneys’ fees and costs; and

         6) Award any and all other relief that this Court deems just and proper.



DATED: March 5, 2025                                  Respectfully submitted,

                                                      /s/ Keith A. Vogt
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                                                      ATTORNEY FOR PLAINTIFF




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